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                                         Law Office of
                             DANNY D. BRACE, JR.
                                   901 H Street, Suite 500
                                   Sacramento, CA 95814

                                    (916) 552-6660
                                     fax (916) 447-0592
                                 email dbrace@bracelaw.com
                                   sharon@bracelaw.com
                                         __________


                                   August 30, 2010



                             MEMORANDUM & ORDER


To: Colleen Lydon, Courtroom Clerk to
the Edward J. Garcia

From: Sharon Kae Chilton,
Legal Assistant to Danny D. Brace, Jr.

Subject: United States v. Heracleo Montanes Gonzalez
         Cr.S-08-438 FCD

      This Memorandum is to confirm defense counsels= request to continue the
Judgment and Sentencing currently scheduled for September 10, 2010 to October 8, at
10:00 a.m.

      The Courtroom Clerk has been notified and the Assistant United States Attorney
Heiko Coppola and United States Probation Officer Hugo Ortiz have no objections to
the new scheduled date.

/sc

      IT IS SO ORDERED this 1st day of September, 2010.



                                           /s/ Edward J. Garcia
                                           U. S. DISTRICT JUDGE
